Case 9:17-cv-80888-KAM Document 27 Entered on FLSD Docket 04/24/2018 Page 1 of 4




                             UN ITED STATES D ISTRICT COU RT
                             SOU TH ERN D ISTRICT OF FLO RIDA
                               W EST PA LM BEA CH D IVISION

                          CA SE N O .:9:17-cv-80888-M a=i M atthev an

     LIN DA FAN ELLI,
                                                                      FILED by                 .C.
           Plaintiff,
                                                                         AF2 2 i 2218
     A M ERICA N A IRLIN ES,IN C.and
                                                                          STEVEN M.LARIMORE
     K EN NETH CHA PLIN E,                                                 CLERKt;S DISI cT.
                                                                          s.o.o:F'
                                                                                 uâ.-w.Rs.
           D efendants,


                             A G R EED PR O TE CTIV E O R D ER
              FO R H A N D LIN G O F SEN SITIV E SE CU R ITY INFO R M A TIO N
                          A ND TR ADE SEC RE T IN FO R M A TIO N


     THIS M ATTER came before the Courtupon the PartiesAgreed M otion forProtective
     O rder For H andling of Sensitive Security Inform ation. The Courthaving review ed the
     m atter,and being fully advised,itishereby ORDERED thatsaid m otion is GRAN TED
     asfollow s:

    1. SEN SITIVE SEC U RITY IN FO RM ATIO N

         1. Pursuant to 49 CFR 15.1 the Secretary of the D epartm ent of Transportation for
     the United States ofAmerica has declared certain docum ents AM ERICAN AIRLINES,
     IN C .hasbeen requested to produce in this case qualify as Sensitive Security lnform ation
     (hereinafterISSI')asdefined in 49 CFR 15.5. Theprotected documentsincludeitems
     such as:Airbus A320 Operating M anual;Airbus A320 Quick Reference Handbook;
     AirbusM odification lnformation;Am erican Airlines,Inc.FlightAttendantM anual;and
     PostIncidentEngineering O rders. See also 49 CFR Parts 15 and 1520.

        2. The requested infonnation and documents qualify asSSlbecause under49 CFR
     15.7 because A M ERICAN A IRLW ES,IN C.is an iaircraftoperator'and under49 CFR
     15.5 the requested docum ents contain sensitive security and perfonnance specifications
     for AM ERICA N A IRLIN ES, IN C. aircraft operations and the aircraft crew m em bers
     during allphases ofground operationsand flight.

        3. Pursuant to 49 CFR 15.5 this Protective O rder is necessary because the
     Departm ent of Transportation has determ ined that the uncontrolled disclosure of SSl
     would otherw ise:
Case 9:17-cv-80888-KAM Document 27 Entered on FLSD Docket 04/24/2018 Page 2 of 4




                (a)Constitutean unwarranted invasion ofprivacy (including,butnotlimited
                   to,infonnation contained inanypersonnel,medical,orsimilarfilel
                (b)Reveal trade secrets or privileged or confidentialinformation obtained
                   from any person;or
                (c)Bedetrimentaltotransportation safety.
        4. 49 CFR 15.9 provides thatAM ERICA N A IRLIN ES,IN C.m ay only disclose SSI
     on a tneed to know 'basisasdefined by 49 CFR 15.11.

        5. AM ERICAN AIRLINES,IN C. is disclosing the SSI in response to discovery
     requests in this law suit pending in U nited States D istrict Court, which qualifies as a
     judicialproceedingexception andaineedtoknow'basis.
   II. A G R EED CO N FID EN TIA LITY O R DE R

         1. AM ERICAN AIRLW ES, IN C. shall designate those docum ents and other
     m aterial that qualify as SSI or Trade Secret by stam ping, m arking, or otherw ise
     identifying such m aterialas iûconfidential''. Such designation shallm ake such item s and
     a1lcopies,prints,summaries,or otherreproductions of such materialsubjectto this
     Order. The stamping,m arking or identifying such m aterial as contidential shallnot
     obscurethetextofthedocum entand when possible shallbelocated in themargin.

        2. The Protective Order shallnot preclude the parties from exercising any rights or
     raisinganyobjectionsavailabletothem undertherulesofdiscovery andevidence.
              (i) W hen usedinthisdescription,theterm itconfidentialM aterial''meansa11
                    w ritten m aterials, com puter docum ents, videotapes, answ ers to
                    interrogatories, responses to requests for production, deposition
                    transcripts and al1 other tangible item s which disclose ticonfidential''
                    inform ation.
               (ii) In thecaseofadeposition ororalexnmination,CounselforAM ERICAN
                    AIRLINES, IN C. m ay, during or after the deposition, designate that
                    testim ony involving Confidential M aterial be held as Contidential.
                    CounselforAM ERICAN AIRLINES,INC. shallthen,within reasonable
                    tim e after receipt of the completed deposition transcript, subm it to
                    opposing counsel and the court a page/line designation of al1 areas of
                    testimony in good faith deem ed to becontidential.
               (iii) W hen used in thisdescription,the term l'Covered Persons''includesthe
                     following:(1)thenamed partiesin thislitigation;(2)thenamed Counsel
                    for the nam ed parties in this litigation, including m em bers of Counsel's
                    legal or support staff (e.g., investigators,secretaries, legal assistants,
                    paralegals and law clerks),to the extentreasonably necessary forsuch
                    personsto renderassistanceinthislitigation;and (3)expertsretained or
                    consulted by Counsel for the nnm ed parties in this litigation to assist in
                    the preparation,defense,orevaluation ofthis litigation.
Case 9:17-cv-80888-KAM Document 27 Entered on FLSD Docket 04/24/2018 Page 3 of 4



        3. Absent further order of the Court, those documents m arked as Confidential
     M aterial shallnot be used for any pum ose other than the prosecution or defense ofthis
     lawsuit,and shallnotbe shown,dissem inated ordisclosed in any m atterto anyone other
     than covered persons w ithout the prior w ritten agreem ent of A M ERICA N A IRLIN ES,
     IN C. ororderofthe Courtafterreasonable notice to A M ERICAN A IRLINES,W C ..

        4. Before show ing or divulging the contents of any Confidential M aterialto any
     Covered Person as defined in Paragraph 2(iii), Cotmsel shall first obtain a signed
     lçW ritten A ssurance''in the fonn attached hereto. Counselshallm aintain a listofallsuch
     recipientsofConfidentialM aterialto whom thisparagraph appliesand the originalofall
     W ritten A ssurances required ptzrsuant to this paragraph. At the conclusion of the case,
     the Parties shallprovide copies of each W ritten Assurance to counselfor AM ERICAN
     A IRLIN ES,IN C..

       5. A 1lCovered Persons shallprotectthe ConfidentialM aterialin com pliance w ith 49
     CFR 15.9.

         6. If any Contidential M aterial is filed w ith any Court,including any pleading or
     m em orandum s incop orating ConfidentialM aterial,itshallbe filed pursuantto the local
     rulesforfiling ConfidentialM aterialwith theCourt.

        7. Confidential M aterial m ay be introduced into evidence,if otherwise adm issible,
     provided thatthe party seeking introduction provides AM ERICAN A IRLINES,IN C.at
     leastten (10)dayspriornotice ofitsintentsothatAMERICAN AIRLINES,INC.may
     have adequate tim e to investigate and respond to the request, and seek an in cnm era
     review ofthe materialsifneeded.

        8. Atthe conclusion ofthis litigation,a11ConfidentialM aterialshallbe returned to
     AM ERICAN A IRLINES ordestroyed.

                   D ON E and O R D ER ED in Cham bersatW estPalm Beach,Palm Beach

     County,Florida,this21 dayofApril2018.



                                                 W ILLIA M M A H EW M A N
                                                 U nited StatesM gistrate Judge
Case 9:17-cv-80888-KAM Document 27 Entered on FLSD Docket 04/24/2018 Page 4 of 4



                             UNITED STATES DISTRICT COURT
                             SOU TH ERN D ISTRICT OF FLO RID A
                               W EST PA LM BEAC H D IV ISION

                          CA SE N O .:9:17-cv-80888-M a= iM atthe= an

     LIN DA FAN ELLI,

           Plaintiff,

     A M ERICA N A IR LINES,IN C.and
     K EN NETH CHA PLIN E,

           Defendants,


                                    W Y TTEN A SSURANC:
             lhereby acknow ledge and affirm that Ihave read the tenns and conditions ofthe
     Protective O rderagreed to by the parties in thiscase and Inm fnm iliar w ith the Sensitive
     Security Information handlingrequirementsunder49 CFR Parts15and 1520.

            l understand the term s of the Order and under oath consent to be bound by the
     termsofthe Orderasa condition to being provided accessto the ConfidentialDocum ents
     furnished by A M ERICAN A IRLINES,IN C .

             Further,by executingthisW ritten Assurance,Ihereby consenttothejurisdiction
     ofthe above-captioned courtforthe specialand lim ited purpose ofenforcing the tenns of
     the Protective Order.

             I recognize that all civil rem edies for breach of this W ritten A ssurrance are
     specifically reserved by AM ERICAN AIRLINES, INC and are not waived by the
     disclosure provided for herein. Further, in the event of the breach of this W ritten
     A ssurance,Irecognize thatA M ERICAN A IR LIN ES,IN C m ay pursue allcivilrem edies
     available to itas athird-party beneticiary ofthis W ritten A ssurance.



     D ATE                                           PRW TED N AM E


                                                     SIGN A TU RE




                                                 4
